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                        FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT


         CITY AND COUNTY OF SAN               No. 18-17308
         FRANCISCO,
                        Plaintiff-Appellee,      D.C. No.
                                              3:17-cv-04642-
                         v.                       WHO

         WILLIAM P. BARR, Attorney
         General; ALAN R. HANSON; UNITED
         STATES DEPARTMENT OF JUSTICE;
         MATT M. DUMMERMUTH,
                     Defendants-Appellants.
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         STATE OF CALIFORNIA, EX REL.               No. 18-17311
         XAVIER BECERRA, in his official
         capacity as Attorney General of the           D.C. No.
         State of California,                       3:17-cv-04701-
                             Plaintiff-Appellee,        WHO

                           v.
                                                      OPINION
         WILLIAM P. BARR, Attorney
         General; ALAN R. HANSON; UNITED
         STATES DEPARTMENT OF JUSTICE;
         MATT M. DUMMERMUTH; PHIL E.
         KEITH,
                     Defendants-Appellants.


              Appeal from the United States District Court
                   for the Northern District of California
             William Horsley Orrick, District Judge, Presiding

                 Argued and Submitted December 2, 2019
                        San Francisco, California

                             Filed July 13, 2020

             Before: William A. Fletcher, Richard R. Clifton,
                    and Eric D. Miller, Circuit Judges.

                         Opinion by Judge Clifton
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                                  SUMMARY *


                            Nationwide Injunction

            The panel affirmed in part, and vacated in part, the
        district court’s summary judgment entering declaratory
        relief for plaintiffs and permanently enjoining the U.S.
        Department of Justice (“DOJ”) on a nationwide basis from
        imposing certain conditions for providing funding for state
        and local criminal justice programs through Edward Byrne
        Memorial Justice Assistance Grants.

            In Fiscal Year 2017, the Attorney General and DOJ
        announced three new conditions that state and local
        governments must satisfy to receive Byrne grants: the
        Access Condition, the Notice Condition, and the
        Certification Condition. Plaintiffs – the City and County of
        San Francisco and the State of California – are “sanctuary”
        jurisdictions, which have enacted laws that limit their
        employees’ authority to assist in the enforcement of federal
        immigration laws. Plaintiffs sued to prevent DOJ from
        denying funding of Byrne grants for their failure to comply
        with the Access, Notice, and Certification Conditions.

            The panel affirmed the district court’s order to the extent
        it held that DOJ did not have statutory authority to impose
        the Access and Notice Conditions and declared that
        plaintiffs’ respective sanctuary laws complied with 8 U.S.C.
        § 1373, the law on which the Certification Condition was
        based. The panel upheld the permanent injunction barring

            *
              This summary constitutes no part of the opinion of the court. It
        has been prepared by court staff for the convenience of the reader.
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        DOJ from withholding, terminating, or clawing back Byrne
        funding based on the Challenged Conditions and statutes at
        issue.

             The panel held that the district court abused its discretion
        in granting nationwide injunctive relief, which was broader
        than warranted. The panel held that nothing in the record or
        in the nature of the claims suggested that the relief granted
        by the district court needed to be extended to state and local
        governments outside of California, not parties to this
        litigation, in order to fully shield plaintiffs. The panel
        vacated the nationwide reach of the permanent injunction
        and limited its reach to California’s geographic boundaries.


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                                 OPINION

        CLIFTON, Circuit Judge:

            The federal government has provided funding for state
        and local criminal justice programs through Edward Byrne
        Memorial Justice Assistance Grants since 2006. In Fiscal
        Year (“FY”) 2017, the Attorney General and the Department
        of Justice (“DOJ”) announced three new conditions that state
        and local governments must satisfy to receive Byrne grants.
        Two conditions require recipient jurisdictions to provide the
        Department of Homeland Security (“DHS”) with (1) access
        to the jurisdiction’s detention or correctional facilities to
        interview people in custody about their right to be in the
        United States (the “Access Condition”), and (2) advance
        notice of the scheduled release of aliens in the jurisdiction’s
        custody (the “Notice Condition”). The third condition
        requires jurisdictions to certify that their laws and policies
        comply with 8 U.S.C. § 1373, a federal statute prohibiting
        states and localities from restricting the flow of “information
        regarding [an individual’s] citizenship or immigration
        status” between state and local officials and DHS (the
        “Certification Condition”).

            Plaintiffs—the City and County of San Francisco and the
        State of California—are so-called “sanctuary” jurisdictions,
        which have enacted laws that limit their employees’
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        authority to assist in the enforcement of federal immigration
        laws. Plaintiffs sued DOJ, the Attorney General, and other
        DOJ officials (collectively, “DOJ”) to prevent DOJ from
        denying funding of Byrne grants for failure to comply with
        the Access, Notice, and Certification Conditions
        (collectively, the “Challenged Conditions”). Plaintiffs also
        sought a declaratory judgment that their respective
        “sanctuary” laws do not violate 8 U.S.C. § 1373, or
        alternatively, that 8 U.S.C. § 1373 is unconstitutional. On
        summary judgment, the district court entered declaratory
        relief in favor of Plaintiffs on all of their legal claims. It also
        permanently enjoined DOJ, among other things, from
        “[u]sing the Section 1373 certification condition, and the
        access and notice conditions . . . as requirements for Byrne
        JAG grant funding.” It extended relief to the entire country
        by providing that the permanent injunction applied to “any
        California state entity, any California political subdivision,
        or any jurisdiction in the United States.”

            Recent precedential decisions by this court have done the
        heavy lifting with regard to the merits of the relief granted
        by the district court. We held that DOJ lacked statutory
        authority to impose the Access and Notice Conditions on
        Byrne funds in reviewing a preliminary injunction obtained
        by the City of Los Angeles. See City of Los Angeles v. Barr,
        941 F.3d 931 (9th Cir. 2019). Consistent with our discussion
        in City of Los Angeles, we affirm the injunction barring DOJ
        from using the Access and Notice Conditions as Byrne
        funding requirements for any California state entity or
        political subdivision.

            We also uphold the injunction barring DOJ from denying
        or withholding Byrne funds on account of the Certification
        Condition based on Plaintiffs’ alleged non-compliance with
        8 U.S.C. § 1373. We narrowly construed the statutory
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        language of 8 U.S.C. § 1373 in an action filed by DOJ to
        enjoin California’s enforcement of its newly-enacted Values
        Act, Cal. Gov’t Code § 7284 et seq., to conclude that the
        Values Act did not conflict with § 1373. See United States
        v. California, 921 F.3d 865 (9th Cir. 2019), cert. denied, 590
        U.S. — (U.S. Jun. 15, 2020) (No. 19-532). Consistent with
        our analysis in that case, we hold that the remaining
        California and San Francisco laws at issue here also comply
        with 8 U.S.C. § 1373 and cannot be cited in relation to the
        Certification Condition as a basis to deny Byrne funding.

            With regard to the geographical reach of the relief
        granted by the district court, however, we conclude that the
        district court abused its discretion in issuing an injunction
        that extended nationwide. Although San Francisco offered
        evidence that some jurisdictions across the country might
        welcome an injunction against the Challenged Conditions,
        nothing in the record or in the nature of the claims suggests
        that the relief granted by the district court needs to be
        extended to state and local governments outside of
        California, not parties to this litigation, in order to fully
        shield Plaintiffs. Therefore, we vacate the nationwide reach
        of the permanent injunction and limit its reach to
        California’s geographical boundaries.

        I. Background

            The Byrne program is the “primary provider” of federal
        grant dollars to support state and local criminal justice
        programs. DOJ’s Office of Justice Programs, which
        administers the grant, disburses over $80 million in awards
        each year. California has used prior Byrne awards to support
        programs focused on criminal drug enforcement, violent
        crime, and anti-gang activities. San Francisco has used them
        to support programs focused on reducing the drug trade and
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        providing services to individuals with substance and mental
        health issues.

            Each year, DOJ distributes Byrne funds pursuant to a
        statutory formula based on population and violent crime rate.
        See 34 U.S.C. § 10156(d)(2)(A). In FY 2017, California,
        through its Board of State and Community Corrections,
        expected to receive $28.3 million and allocate $10.6 million
        in sub-grants to its localities. San Francisco expected to
        receive a sub-grant of $923,401, plus a direct award of
        $524,845 pursuant to its own FY 2017 application.

            To receive and draw upon a Byrne award, a state or local
        government must submit an application that complies with
        the statutory requirements outlined in 34 U.S.C. § 10153, in
        a form set forth in annual solicitation documents that DOJ
        provides and in accordance with all lawful conditions stated
        therein. See 34 U.S.C. § 10153. DOJ’s FY 2017 solicitation
        documents included the Challenged Conditions at issue in
        this appeal.

             A. The Challenged Conditions

            The FY 2017 Byrne solicitations included the Access
        and Notice Conditions, “two new express conditions”
        related to “the ‘program or activity’ that would be funded by
        the FY 2017 award.” Respectively, the Access and Notice
        Conditions require recipient jurisdictions to:

                (1) permit personnel of the U.S. Department
                of Homeland Security (“DHS”) to access any
                correctional or detention facility in order to
                meet with an alien (or an individual believed
                to be an alien) and inquire as to his or her
                right to be or remain in the United States; and
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                 (2) provide at least 48 hours’ advance notice
                 to DHS regarding the scheduled release date
                 and time of an alien in the jurisdiction’s
                 custody when DHS requests such notice in
                 order to take custody of the alien pursuant to
                 the Immigration and Nationality Act.

            The Byrne statute requires applicants to certify that “the
        applicant will comply with all provisions of this part and all
        other applicable Federal laws.” 34 U.S.C. § 10153(a)(5)(D).
        In FY 2016, DOJ announced that 8 U.S.C. § 1373 is an
        “applicable Federal law” under the Byrne statute. In relevant
        part, 8 U.S.C. § 1373 prohibits states and localities from
        restricting their officials from sharing “information
        regarding the citizenship or immigration status, lawful or
        unlawful, of any individual” with DHS. 1


            1
               Congress enacted 8 U.S.C. § 1373 as part of the Illegal
        Immigration Reform and Immigrant Responsibility Act of 1996. See
        Pub. L. No. 104-208, div. C, tit. VI, § 642, 110 Stat. 3009, 3009–707. It
        provides in full:

                 (a) In general

                     Notwithstanding any other provision of Federal,
                     State, or local law, a Federal, State, or local
                     government entity or official may not prohibit, or
                     in any way restrict, any government entity or
                     official from sending to, or receiving from, the
                     Immigration     and    Naturalization    Service
                     information regarding the citizenship or
                     immigration status, lawful or unlawful, of any
                     individual.

                 (b) Additional authority of government entities
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            In FY 2017, DOJ attached the Certification Condition to
        all Byrne awards. In the FY 2017 Byrne solicitations, DOJ
        announced that a jurisdiction cannot validly accept an award
        until its Chief Legal Officer executes and submits a form
        certifying that the jurisdiction complies with 8 U.S.C.
        § 1373. This form and the statutory text of 8 U.S.C. § 1373
        were attached as appendices to the solicitations.




                   Notwithstanding any other provision of Federal,
                   State, or local law, no person or agency may
                   prohibit, or in any way restrict, a Federal, State, or
                   local government entity from doing any of the
                   following with respect to information regarding
                   the immigration status, lawful or unlawful, of any
                   individual:

                        (1) Sending such information to, or
                        requesting or receiving such information
                        from, the Immigration and Naturalization
                        Service.

                        (2) Maintaining such information.

                        (3) Exchanging such information with any
                        other Federal, State, or local government
                        entity.

               (c) Obligation to respond to inquiries

                   The Immigration and Naturalization Service shall
                   respond to an inquiry by a Federal, State, or local
                   government agency, seeking to verify or ascertain
                   the citizenship or immigration status of any
                   individual within the jurisdiction of the agency for
                   any purpose authorized by law, by providing the
                   requested verification or status information.
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            B. Factual and Procedural History

            The City and County of San Francisco and the State of
        California filed lawsuits in the Northern District of
        California in August 2017, seeking to enjoin DOJ from
        implementing the Challenged Conditions. Plaintiffs asserted
        that the Challenged Conditions are not authorized by the
        Byrne statute and violate constitutional separation of
        powers, the Spending Clause, and the Administrative
        Procedure Act (“APA”). Plaintiffs also argued that 8 U.S.C.
        § 1373 cannot be enforced against them because it violates
        the Tenth Amendment.

            Plaintiffs understood the Access and Notice Conditions
        to be inconsistent with the sanctuary laws and policies they
        have enacted. Plaintiffs claimed, however, that they could
        comply with the Certification Condition if the statute on
        which it is based, 8 U.S.C. § 1373, were appropriately
        construed. Because DOJ threatened to withhold FY 2017
        funds based on the assertion that Plaintiffs’ sanctuary laws
        violate 8 U.S.C. § 1373, Plaintiffs sought declaratory relief
        narrowly construing § 1373 and holding that the statute as so
        construed does not conflict with Plaintiffs’ sanctuary laws. 2

            2
              The State of California sought similar relief related to a condition
        that DOJ placed on FY 2017 awards under the Community Oriented
        Policing Services (“COPS”) grant program and the COPS Anti-
        Methamphetamine Program (“CAMP”). See generally 34 U.S.C.
        § 10381 et seq. Like the Certification Condition attached to Byrne
        awards, the challenged condition attached to the COPS/CAMP awards
        requires applicants to certify their compliance with 8 U.S.C. § 1373.
        California’s Department of Justice submitted this certification when it
        applied for a FY 2017 CAMP award, and although it received $1 million
        in CAMP funding that year, it was told it could not “draw down” the
        funds pending an inquiry into its compliance with § 1373.
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            In October 2018, the district court decided the case in
        Plaintiffs’ favor on cross-motions for summary judgment.
        See City & Cty. of San Francisco v. Sessions, 349 F. Supp.
        3d 924, 934 (N.D. Cal. 2018), judgment entered sub nom.
        California ex rel. Becerra v. Sessions, No. 3:17-CV-04701-
        WHO, 2018 WL 6069940 (N.D. Cal. Nov. 20, 2018). It
        issued declaratory and injunctive relief on all of Plaintiffs’
        legal claims, holding the Challenged Conditions and 8
        U.S.C. § 1373 unconstitutional and unenforceable against
        Plaintiffs and any other jurisdiction in the United States. The
        district court stayed the effect of the injunction’s nationwide
        scope pending appellate review. See id. at 973–74.

            On appeal, DOJ argues that the Challenged Conditions
        were imposed pursuant to lawful authority and did not
        violate the Spending Clause or the APA, and that the district
        court erroneously construed 8 U.S.C. § 1373 and erred in
        holding that Plaintiffs’ respective laws did not conflict with
        § 1373. DOJ also argues that the district court abused its
        discretion by extending the scope of injunctive relief to non-
        parties nationwide.

        II. Standard of Review

            Decisions regarding matters of law, including issues of
        statutory interpretation, are reviewed de novo. Ileto v.


             The dispositive issue on appeal related to COPS/CAMP is whether
        California’s state laws render California ineligible for COPS/CAMP
        funding based on asserted non-compliance with 8 U.S.C. § 1373. This
        issue is identical to the issue regarding the Certification Condition
        attached to the Byrne program. See infra Part IV. For the sake of
        simplicity, the issue is discussed in the text of this opinion in terms of
        the Byrne program’s Certification Condition, but that discussion and our
        resolution of that challenge applies similarly to the § 1373 certification
        condition under COPS/CAMP.
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        Glock, Inc., 565 F.3d 1126, 1131 (9th Cir. 2009) (citations
        omitted). We review a decision to enter a nationwide
        injunction for abuse of discretion. Los Angeles Haven
        Hospice, Inc. v. Sebelius, 638 F.3d 644, 654 (9th Cir. 2011).
        “District courts abuse their discretion when they rely on an
        erroneous legal standard or clearly erroneous finding of
        fact.” E. Bay Sanctuary Covenant v. Trump, 950 F.3d 1242,
        1271 (9th Cir. 2020) (citation omitted). “[A]n overbroad
        injunction is an abuse of discretion.” California v. Azar, 911
        F.3d 558, 582 (9th Cir. 2018) (quoting Stormans, Inc. v.
        Selecky, 586 F.3d 1109, 1140 (9th Cir. 2009)).

        III.   The Access and Notice Conditions

            The district court invalidated the Access and Notice
        Conditions on multiple grounds, holding that they exceed
        DOJ’s statutory authority, violate constitutional separation
        of powers, violate the Spending Clause, and are arbitrary and
        capricious under the APA. See City & Cty. of San Francisco,
        349 F. Supp. 3d at 944–48, 955–66. While this appeal was
        pending, we upheld a preliminary injunction obtained by the
        City of Los Angeles against DOJ’s enforcement of the
        Access and Notice Conditions, holding that DOJ lacked
        statutory authority to implement them. See City of Los
        Angeles v. Barr, 941 F.3d 931, 945 (9th Cir. 2019).

            DOJ contends that Congress granted it independent
        authority to establish the Access and Notice Conditions
        under 34 U.S.C. § 10102(a)(6). This statute provides: “The
        Assistant Attorney General shall . . . exercise such other
        powers and functions as may be vested in the Assistant
        Attorney General pursuant to this chapter or by delegation
        of the Attorney General, including placing special conditions
        on all grants, and determining priority purposes for formula
        grants.” In City of Los Angeles, we held that when § 10102
        was amended in 2006, “Congress affirmatively indicated its
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        understanding that the Assistant AG’s powers and functions
        could include ‘placing special conditions on all grants, and
        determining priority purposes for formula grants.’” 941 F.3d
        at 939 (quoting 34 U.S.C. § 10102(a)(6)). We held,
        however, that the Access and Notice Conditions did not
        constitute “special conditions” or “priority purposes.” See
        id. at 939–44. Therefore, although we agreed with DOJ that
        it was given independent authority in § 10102(a)(6), we held
        that the Access and Notice Conditions were not imposed
        pursuant to this authority. Id. at 944.

            DOJ alternatively argues that the Access and Notice
        Conditions are authorized by provisions in the Byrne statute
        requiring applicants to certify that “there has been
        appropriate coordination” between the applicant and
        “affected agencies,” 34 U.S.C. § 10153(a)(5)(C), and to
        assure that it will maintain “programmatic” information “as
        the Attorney General may reasonably require,” id.
        § 10153(a)(4). We rejected these arguments in City of Los
        Angeles, holding that the requirements under the Access and
        Notice Conditions far exceed what the statutory language of
        these provisions require. See 941 F.3d at 944–45.

            Other circuits have reached differing conclusions
        regarding DOJ’s authority under § 10102(a)(6) and the
        Byrne statute to impose the Access and Notice Conditions,
        which has resulted in a circuit split. 3 Consistent with our

             3
               To date, only the Second Circuit has held that the Access and
        Notice Conditions were imposed pursuant to appropriate authority. New
        York v. Dep’t of Justice, 951 F.3d 84, 101–04, 116–22 (2d Cir. 2020).
        The First, Third, and Seventh Circuits have held to the contrary. City of
        Chicago v. Barr, 957 F.3d 772 (7th Cir. 2020); City of Chicago v.
        Sessions, 888 F.3d 272, 283–87 (7th Cir. 2018), reh’g en banc granted
        in part, opinion vacated in part, No. 17-2991, 2018 WL 4268817 (7th
        Cir. June 4, 2018), vacated, No. 17-2991, 2018 WL 4268814 (7th Cir.
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        analysis in City of Los Angeles, we affirm the district court’s
        order declaring the Access and Notice Conditions unlawful
        and enjoining DOJ from enforcing them against Plaintiffs.

        IV.     The Certification Condition and 8 U.S.C. § 1373

            The district court enjoined DOJ from enforcing the
        Certification Condition on multiple alternative grounds. See
        City & Cty. of San Francisco, 349 F. Supp. 3d at 948–55,
        957–61. Among other things, the district court declared that
        Plaintiffs’ sanctuary laws do not violate 8 U.S.C. § 1373,
        which it narrowly construed, and that DOJ cannot withhold
        Byrne funds pursuant to the Certification Condition by
        asserting that Plaintiffs’ laws prevent their compliance with
        § 1373. See id. at 968–70. Because we affirm on this basis,
        it is unnecessary for us to consider the district court’s
        alternative grounds for enjoining the Certification
        Condition, including constitutional grounds, and we do not
        address them.

            As described above, at page 11, applicants for Byrne
        grants are required to certify that they “will comply with all
        provisions of this part and all other applicable Federal laws.”
        34 U.S.C. § 10153(a)(5)(D). DOJ has identified 8 U.S.C.
        § 1373 as an “applicable Federal law” referenced in the
        statute. In relevant part, § 1373 prohibits states and local
        governments from restricting their officials from sharing
        “information regarding the citizenship or immigration status,
        lawful or unlawful, of any individual” with DHS.




        Aug. 10, 2018); City of Philadelphia v. Att’y Gen., 916 F.3d 276, 284–
        88 (3d Cir. 2019); City of Providence v. Barr, 954 F.3d 23, 45 (1st Cir.
        2020).
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            This court recently interpreted § 1373 in United States v.
        California, 921 F.3d 865 (9th Cir. 2019), cert. denied, 590
        U.S. — (U.S. Jun. 15, 2020) (No. 19-532), a decision that
        was rendered while this appeal was pending. In California,
        we reviewed the denial of DOJ’s motion for a preliminary
        injunction against California’s implementation of several
        recent enactments, including the Values Act, which DOJ
        brought affirmative litigation to invalidate. Among other
        things, DOJ argued that provisions in the Values Act
        governing the exchange of information with federal
        immigration authorities, see Cal. Gov’t Code
        § 7284.6(a)(1)(C)–(D), 4 are prohibited by the information-
        sharing requirements of 8 U.S.C. § 1373. See California,
        921 F.3d at 886, 891–93. We disagreed. See id. at 893.

            DOJ argued that § 1373’s language referring to
        “information regarding . . . citizenship or immigration
        status” should be construed to include information that helps
        federal immigration authorities determine “whether a given
        alien may actually be removed or detained,” such as
        information about when a person will be released from state
        or local custody. Id. at 891. We rejected DOJ’s broad
        construction of § 1373, holding that § 1373, by its terms,
        only concerned “‘information strictly pertaining to

             4
               Cal. Gov’t Code § 7284.6(a)(1)(C) prohibits California law
        enforcement agencies from “[p]roviding information regarding a
        person’s release date or responding to requests for notification by
        providing release dates or other information unless that information is
        available to the public, or is in response to a notification request from
        immigration authorities” under certain circumstances.

             Cal. Gov’t Code § 7284.6(a)(1)(D) prohibits the agencies from
        “[p]roviding personal information . . . about an individual, including, but
        not limited to, the individual’s home address or work address unless that
        information is available to the public.”
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        immigration status (i.e. what one’s immigration status is).’”
        Id. (quoting United States v. California, 314 F. Supp. 3d
        1077, 1102 (E.D. Cal. 2018)).

            In November 2017, using the same broad construction of
        § 1373 we later rejected in California, DOJ informed
        Plaintiffs that it had identified specific laws that appeared to
        violate § 1373, thereby rendering Plaintiffs ineligible for FY
        2017 Byrne awards. In a letter to the State, DOJ specifically
        identified provisions of the Values Act and suggested that
        additional offending laws may be identified in the future.
        California accordingly sought a declaratory judgment that
        the Values Act and other state laws related to immigration
        enforcement and information-sharing—the TRUST Act, the
        TRUTH Act, and six confidentiality statutes 5—did not
        violate 8 U.S.C. § 1373 or render California ineligible for
        Byrne funds under the Certification Condition. San
        Francisco requested similar relief regarding chapters 12H
        and 12I of the San Francisco Administrative Code, which




            5
                The TRUST Act limits the ability of state and local law
        enforcement officers to provide federal immigration authorities
        information regarding a person’s release date from custody. Cal. Gov’t
        Code §§ 7282.5(a), 7284.6(a)(1)(C). The TRUTH Act requires local
        officials to provide inmates in their custody a notification of rights before
        any interview by immigration authorities takes place regarding civil
        immigration violations. Id. § 7283.1(a). The six confidentiality laws at
        issue include three statutes concerning the protection of minors’ personal
        information, see Cal. Welf. & Inst. Code §§ 827, 831; Cal. Code of Civ.
        Proc. § 155, and three statutes concerning California’s policy of
        protecting the personal information of victims and witnesses of crime,
        see Cal. Penal Code §§ 422.93, 679.10, 679.11.
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        DOJ identified as likely violative of § 1373 in a letter to San
        Francisco. 6

             The district court entered declaratory judgment in
        Plaintiffs’ favor. See City & Cty. of San Francisco, 349 F.
        Supp. 3d at 966–70. It held that 8 U.S.C. § 1373 only
        narrowly “extends to ‘information strictly pertaining to
        immigration status (i.e. what one’s immigration status is),’”
        id. at 968 (quoting California, 314 F. Supp. 3d at 1102), and
        concluded that Plaintiffs’ respective sanctuary laws did not
        violate § 1373 so construed, see id. at 968–70. We affirm.

            As noted above, while this appeal was pending, we
        adopted the same narrow construction of § 1373 in
        California, holding that § 1373’s information-sharing
        requirements applied to “just immigration status” or “a
        person’s legal classification under federal law.” 921 F.3d at
        891. We also held that the challenged provisions of the
        Values Act did not conflict with § 1373 because they
        restricted the sharing of release status and contact

             6
              DOJ’s letter cited specific concerns with sections 12H.2 and 12I.3
        of the San Francisco Administrative Code. Section 12H.2 prohibits the
        “use [of] any City funds or resources to assist in the enforcement of
        Federal immigration law or to gather or disseminate information
        regarding release status of individuals or any such personal information
        as defined in Chapter 12I,” except as “required by Federal or State
        statute, regulation, or court decision.” S.F., Cal., Admin. Code ch. 12H,
        § 12H.2; see id. ch. 12I, § 12I.2 (“‘Personal information’ means any
        confidential, identifying information about an individual, including, but
        not limited to, home or work contact information, and family or
        emergency contact information.”). Section 12I.3 provides that City law
        enforcement officials “shall not . . . provide any individual’s personal
        information to a federal immigration officer, on the basis of an
        administrative warrant, prior deportation order, or other civil
        immigration document based solely on alleged violations of the civil
        provisions of immigration laws.” Id. ch. 12I, § 12I.3(e).
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        information but did not prohibit the sharing of information
        regarding “immigration status.” 7 See id. at 891–93.
        Consistent with these holdings in California, we affirm the
        district court’s decision below, applying the same narrow
        construction of § 1373 to the state and local laws at issue in
        this case.

            DOJ “effectively conceded” that the TRUST Act,
        TRUTH Act, and confidentiality statutes do not conflict with
        § 1373 by not arguing otherwise on summary judgment.
        City & Cty. of San Francisco, 349 F. Supp. 3d at 968; see
        Kingdomware Tech., Inc. v. United States, 136 S. Ct. 1969,
        1978 (2016). DOJ now argues for the first time on appeal
        that these laws offend § 1373 because, “[a]s relevant here,”
        they constrain law enforcement from sharing the release
        dates of people in custody. Section 1373 does not cover
        release dates, however. California, 921 F.3d at 891–92. We
        therefore affirm that these California laws do not conflict
        with § 1373.

            DOJ similarly argues that San Francisco’s laws conflict
        with § 1373 because they prohibit local officials from giving
        federal immigration authorities the contact information and
        release status of aliens and from “us[ing] any City funds or
        resources to assist in the enforcement of Federal immigration
        law.” S.F., Cal., Admin. Code ch. 12H, § 12H.2; see also id.
        ch. 12I, §§ 12I.2, 12I.3. However, these prohibitions are
        subject to a savings clause, which requires compliance with

            7
              Indeed, we noted that one provision of the Values Act expressly
        permits the sharing of information pursuant to § 1373. California, 921
        F.3d at 891 (quoting Cal. Gov’t Code § 7284.6(e) (“This section does
        not prohibit or restrict any government entity or official from sending to,
        or receiving from, federal immigration authorities, information
        regarding the citizenship or immigration status, lawful or unlawful, of an
        individual . . . pursuant to Section[ ] 1373.”)).
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        federal law. See id. ch. 12H, § 12H.2. Because § 1373 does
        not extend to contact and release status information, see
        California, 921 F.3d at 891–92, federal law does not
        preclude San Francisco from prohibiting the release of such
        information.

            DOJ claims that San Francisco, in accordance with these
        provisions, “provides no information in response to ICE
        requests regarding individuals in local custody.” The
        declaration cited in the record, however, only states that
        “[l]ocal law enforcement officials in San Francisco,
        California, do not respond to any non-criminal requests from
        ICE, including requests for notification regarding the release
        of detainees . . . .” Again, such information is not within the
        scope of 8 U.S.C. § 1373. See California, 921 F.3d at 891–
        92. And while San Francisco prohibits the “use [of] any City
        funds or resources to assist in the enforcement of federal
        immigration law,” see S.F. Admin. Code ch. § 12H.2, no
        evidence has been cited to suggest that local officials have
        ignored ICE requests for “immigration status” information
        based on this provision or on any other basis.

             In sum, we affirm the ruling below holding that
        Plaintiffs’ respective sanctuary laws comply with 8 U.S.C.
        § 1373. Although the laws restrict some information that
        state and local officials may share with federal authorities,
        they do not apply to information regarding a person’s
        citizenship or immigration status, which is the only
        information to which § 1373 extends. We uphold the
        injunction barring DOJ from withholding or denying Byrne
        funds to Plaintiffs based on the assertion that these laws
        violate 8 U.S.C. § 1373 and/or the Certification Condition.
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        V. The Nationwide Injunction

            We uphold the district court’s entry of permanent
        injunctive relief barring DOJ from withholding or denying
        Plaintiffs’ Byrne awards based on the Challenged
        Conditions. However, we vacate the district court’s
        imposition of a nationwide injunction. The district court
        abused its discretion by issuing a nationwide injunction
        without determining whether Plaintiffs needed relief of this
        scope to fully recover. We do not remand to the district court
        for further consideration because Plaintiffs have established
        no nexus between their claimed injuries and the nationwide
        operation of the Challenged Conditions, and they advance
        no reason why limiting the injunction along state boundaries
        would not grant them full relief. Therefore, the geographical
        reach of the relief should be limited to California.

            “Although ‘there is no bar against . . . nationwide relief
        in federal district court or circuit court,’ such broad relief
        must be ‘necessary to give prevailing parties the relief to
        which they are entitled.’” California v. Azar, 911 F.3d 558,
        582 (9th Cir. 2018) (quoting Bresgal v. Brock, 843 F.2d
        1163, 1170–71 (9th Cir. 1987)). On appeal, Plaintiffs argue
        that they are entitled to nationwide relief by emphasizing
        evidence in the record, including declarations from “all types
        [of] grant recipients across the geographical spectrum” about
        how they are affected by the Challenged Conditions.
        Plaintiffs argue that the “far-reaching impact” of the
        Challenged Conditions makes this “one of the ‘exceptional
        cases’ in which program-wide relief is necessary.”

            The district court agreed, basing its analysis on “recent
        guidance” from the Ninth Circuit “on the breadth of
        evidence and inquiry needed to justify nationwide injunctive
        relief in the context of [Executive action] attempting to place
        similar conditions on grant funding.” See City & Cty. of San
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        Francisco, 349 F. Supp. 3d at 971 (citing City & Cty. of San
        Francisco v. Trump, 897 F.3d 1225, 1245 (9th Cir. 2018)).
        In those cases, we held that nationwide injunctions against
        unlawful Executive action, obtained by state and municipal
        plaintiffs, were overbroad where, among other things, the
        record contained no evidence showing impact to other
        jurisdictions. See Trump, 897 F.3d at 1244 (noting that the
        proffered evidence was “limited to the effect of the
        [Executive] Order on their governments and to the State of
        California”); Azar, 911 F.3d at 584 (holding that there was
        no “showing of nationwide impact or [harm to other
        jurisdictions of] sufficient similarity to the plaintiff states”).
        Citing these cases, the district court reasoned that, before
        issuing a nationwide injunction, it must “undertake ‘careful
        consideration’ of a factual record evidencing ‘nationwide
        impact,’ or in other words, ‘specific findings underlying the
        nationwide application of the injunction.’” City & Cty. of
        San Francisco, 349 F. Supp. 3d at 971 (quoting Trump, 897
        F.3d at 1231, 1244).

            While it was correct to state this rule, the district court
        erred by considering only this rule. This rule addresses one
        form of tailoring: “Once a constitutional violation is found,
        a federal court is required to tailor the scope of the remedy
        to fit the nature and extent of the constitutional violation.”
        Trump, 897 F.3d at 1244 (quoting Hills v. Gautreaux,
        425 U.S. 284, 293–94 (1976)). However, this is not the only
        form of tailoring a court must do when issuing a remedy.
        See, e.g., Azar, 911 F.3d at 584.

            We have long held that an injunction “should be no more
        burdensome to the defendant than necessary to provide
        complete relief to the plaintiffs before the court.” Los
        Angeles Haven Hospice, Inc. v. Sebelius, 638 F.3d 644, 664
        (9th Cir. 2011) (quoting Califano v. Yamasaki, 442 U.S. 682,
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        702 (1979)) (internal quotation marks omitted). Under this
        rule, the appropriate inquiry would be whether Plaintiffs
        themselves will continue to suffer their alleged injuries if
        DOJ were enjoined from enforcing the Challenged
        Conditions only in California. The district court did not
        make such a finding, and it is not apparent how the record
        would support one.

            We look first to the injuries Plaintiffs claimed. By
        imposing the Challenged Conditions, San Francisco argued,
        DOJ offered “an unacceptable choice: either comply with
        [the Challenged Conditions] and abandon local policies that
        San Francisco has found to promote public safety and foster
        trust and cooperation between law enforcement and the
        public, or maintain these policies but forfeit critical funds
        that it relies on to provide essential services to San Francisco
        residents.” San Francisco claimed that it faced “the
        immediate prospect of losing over $1.4 million” in program
        funds. California claimed it was at risk of “losing $31.1
        million,” which would have devastating impacts on state and
        local law enforcement agencies, requiring many of their
        programs to be cut.

            An injunction barring DOJ from enforcing the
        Challenged Conditions within California’s geographical
        limits would resolve Plaintiffs’ injuries by returning
        Plaintiffs to the status quo. While extending this same relief
        to non-party jurisdictions beyond California’s geographical
        bounds would likely be of consequence to those other
        jurisdictions, it does nothing to remedy the specific harms
        alleged by the Plaintiffs in this case. A nationwide
        injunction was therefore unnecessary to provide complete
        relief. It was overbroad and an abuse of discretion.

           We acknowledge the “increasingly controversial” nature
        of nationwide injunctions, Innovation Law Lab v. Wolf,
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        951 F.3d 1073, 1094 (9th Cir. 2020), and distinguish this
        case from recent decisions in which we upheld this form of
        relief. See id. (affirming an injunction operating in four
        states within three circuits); E. Bay Sanctuary Covenant v.
        Barr (E. Bay Transit), Nos. 19-16487, 19-16773, slip. op.
        (9th Cir. Jul. 6, 2020) (same); E. Bay Sanctuary Covenant v.
        Trump (E. Bay Port-of-Entry), 950 F.3d 1242 (9th Cir.
        2020).

            Plaintiffs here, a state and a municipality, “‘operate in a
        fashion that permits neat geographic boundaries.’” E. Bay
        Port-of-Entry, 950 F.3d at 1282–83 (quoting E. Bay
        Sanctuary Covenant v. Trump (E. Bay III), 354 F. Supp. 3d
        1094, 1120–21 (N.D. Cal. 2018)). Because Plaintiffs do not
        operate or suffer harm outside of their own borders, the
        geographical scope of an injunction can be neatly drawn to
        provide no more or less relief than what is necessary to
        redress Plaintiffs’ injuries. This is distinguishable from a
        case involving plaintiffs that operate and suffer harm in a
        number of jurisdictions, where the process of tailoring an
        injunction may be more complex.

            We recognized this distinction when we affirmed the
        nationwide injunction entered in East Bay Port-of-Entry:

               The Organizations . . . represent “asylum
               seekers” broadly. Unlike the plaintiffs in
               California v. Azar—individual states seeking
               affirmance of an injunction that applied past
               their borders—the Organizations here “do
               not operate in a fashion that permits neat
               geographic boundaries.” [E. Bay] III, 354 F.
               Supp. 3d at 1120–21. . . An injunction that,
               for example, limits the application of the
               Rule to California, would not address the
               harm that one of the Organizations suffers
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                 from losing clients entering through the
                 Texas-Mexico border. One fewer asylum
                 client, regardless of where the client entered
                 the United States, results in a frustration of
                 purpose (by preventing the organization from
                 continuing to aid asylum applicants who seek
                 relief), and a loss of funding (by decreasing
                 the money it receives for completed cases).

        950 F.3d at 1282–83 (citation omitted).

           Accordingly, we vacate the nationwide reach of the
        permanent injunction and limit its reach to California’s
        geographical boundaries.

        VI.      Conclusion

            We affirm the district court’s order to the extent it held
        that DOJ did not have statutory authority to impose the
        Access and Notice Conditions and declared that Plaintiffs’
        respective sanctuary laws comply with 8 U.S.C. § 1373, the
        law on which the Certification Condition is based. We
        uphold the permanent injunction barring DOJ from
        withholding, terminating, or clawing back Byrne funding
        based on the Challenged Conditions and statutes at issue.
        We also determine that the district court abused its discretion
        in granting nationwide injunctive relief, which was broader
        than warranted, and vacate that portion of the district court’s
        order.

              Each party to bear its own costs.

              AFFIRMED in part; VACATED in part.
